             IN THE DISTRICT COURT OF THE UNITED STATES
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        BRYSON CITY DIVISION
                              2:11 cr 22-7


UNITED STATES OF AMERICA,                      )
                                               )
Vs.                                            )            ORDER
                                               )
KIRSTEN BEAUBIEN MCGILLVRAY,                   )
                                               )
                 Defendant.                    )
__________________________________             )


        THIS MATTER has come before the court, pursuant to an Order (#189)

entered by the undersigned on January 18, 2012 in which the undersigned set a

hearing to determine whether or not defendant can continue to show that exceptional

reasons exists that would merit her continued release. At the call of this matter on for

hearing it appeared that defendant was present with her counsel Tony Rollman and the

government was present and represented through Assistant United States Attorney,

Tom Kent.     From the evidence presented in this matter by the defendant, the

arguments of counsel for defendant, and the Assistant United States Attorney, and the

records in this cause, the court makes the following findings.

        Findings.   On January 10, 2012 the undersigned conducted a Rule 11

proceeding with defendant at which time she entered a plea of guilty to possession

with intent to distribute methamphetamine. Upon motion of defendant which was

consented to by the government, the undersigned, after hearing evidence, found that



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defendant had presented “exceptional circumstances” to justify her continued release

pursuant to 18 U.S.C. § 3145(c). The defendant has now presented into evidence as

her basis for continued release documentation that shows that defendant is continuing

to undergo treatment for obstetrical problems which could include cancer. The

defendant’s physician recommends that defendant be treated for an additional six

weeks of treatment to try to prevent the return of her obstetrical ailments.   Mr. Kent,

on behalf of the government, advised the court that the government had no objection

to the continued release of defendant.

      As a result of the evidence of defendant and the lack of objection by the

government, the undersigned is of the opinion that the circumstances shown by

defendant continue to meet the definition of “exceptional circumstances” that merit

the continued release of defendant.



                                         ORDER

      IT IS, THEREFORE, ORDERED, that the terms and conditions of pretrial

release of defendant are hereby ordered to continue in force and effect until April 30,

2012. On that date, the undersigned will conduct a hearing in the United States




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Courthouse in courtroom #2 in Asheville, North Carolina at 10:15 a.m. to determine

whether or not defendant can continue to show that exceptional reasons exists that

would merit her continued release.



                                         Signed: February 28, 2012




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